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                              UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

BRUNO C. TERNON, derivatively on behalf )
of CHELSEA NIGHTCLUB OF TAMPA, INC., )
a Florida Corporation and individually  )
                                        )
              Plaintiffs,               )
                                        )
v.                                      )
                                        )
NICOLETTE DEFILIPPI a/k/a NICOLETTE     )          CIVIL ACTION NO. 8:16-cv-03345-SCB-MAP
R. TERNON, an individual,               )
                                        )
              Defendant                 )
v.                                      )
                                        )
and CHELSEA NIGHTCLUB OF TAMPA, INC., )
a Florida Corporation                   )
                                        )
              Nominal Defendant.        )
                                        )
                                         /

                            VERIFIED FIRST AMENDED COMPLAINT

       COMES NOW, BRUNO C. TERNON (“TERNON”), an individual, derivatively on behalf of

CHELSEA NIGHTCLUB OF TAMPA, INC, a Florida Corporation (“CHELSEA”) and in his individual

capacity and sues Defendant, NICOLETTE DEFILIPPI a/k/a NICOLETTE R. TERNON, an individual

(hereinafter “DEFILIPPI”) and Nominal Defendant, CHELSEA, and files this Complaint and states

as follows in support thereof:

                                     STATEMENT OF CASE
       This case involves the theft and improper distribution of corporate funds by the President

of the company to her own personal bank account.
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                                     GENERAL ALLEGATIONS

  1. TERNON is an individual residing in King County, Washington and is a citizen of the State

     of Washington.

  2. CHELSEA is an inactive and dissolved Florida corporation with its principal place of

     business located in Hillsborough County, Florida at 1502 N. Florida Avenue in Tampa,

     Florida.

  3. DEFILIPPI is an individual residing in Knox county, Tennessee and is a citizen State of

     Tennessee.

  4. This is a complaint for damages greater than $75,000, exclusive of attorney’s fees, costs

     and interest.

  5. Jurisdiction is proper in this Court pursuant to 28 USC § 1332(a)(1) because the claimed

     damages, exclusive of interest and costs, exceed $75,000 and the matter is between

     citizens of different States.

  6. Venue is proper in this Court pursuant to 28 USCA § 1391(b)(2) because a substantial

     portion of the events or omissions giving rise to this claim occurred within Hillsborough

     County, Florida and pursuant to 28 USCA § 1391(c)(2) because CHELSEA had its principal

     place of business within Hillsborough County, Florida and the court has personal

     jurisdiction over it.

  7. This is a derivative action brought under the laws of the State of Florida and pursuant to

     Florida Statute 607, commonly known as the Florida Business Corporations Act, and a

     direct shareholder action.
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  8. TERNON was a shareholder of CHELSEA at all pertinent times, including the time that the

     transaction complained of occurred.

  9. This action is not a collusive one to confer jurisdiction that the court would otherwise

     lack.

  10. Plaintiff took actions to obtain the desired corrective action from DEFILIPPI including, but

     not limited to requesting that she remedy the improper distribution on multiple

     occasions; however, such requests were futile as DEFILIPPI has claimed that she is entitled

     to the improper distribution.

  11. Pre-suit demand required by Fla. Stat. § 607.07401(2) or FRCP 23.1 for an investigation of

     the actions alleged herein would be futile and obviously unavailing because (a) CHELSEA

     does not have and has never had a board of directors and (b) the actions complained of

     are the actions of DEFILIPPI, who failed to correct the improper actions after receiving

     notification of them on multiple occasions and thereafter and (c) there is no independent

     director or shareholder or officer of CHELSEA.

                                     SPECIFIC ALLEGATIONS
  12. TERNON and DEFILIPPI were a married couple whose divorce was finalized in or around

     January 15, 2008 by virtue of a binding divorce settlement entered in Rechtbank,

     Amsterdam, a copy of which is attached hereto as Exhibit “A” (“Divorce Settlement”).

  13. After the Divorce Settlement, TERNON lived and worked in Amsterdam and DEFILIPPI

     relocated to Tampa, Florida to be closer to their adult children, who lived in the United

     States. TERNON and DEFILIPPI temporarily reconciled after the Divorce Settlement,

     despite the fact that TERNON lived in Europe and DEFILIPPI lived in the United States.
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  14. TERNON and DEFILIPPI decided to start a nightclub business in Tampa, Florida

     (“CHELSEA”). TERNON and DEFILIPPI incorporated CHELSEA on or around June 4, 2009.

     A true and correct copy of the Articles of Incorporation is attached hereto as Exhibit “B”.

  15. Each of TERNON and DEFILIPPI held a 50% equity ownership interest in CHELSEA at all

     times from the time it was formed and agreed to an equal split of all proceeds,

     distributions and profits from the CHELSEA business.

  16. DEFILIPPI was the President of CHELSEA and ran all the day-to-day operations of

     CHELSEA, including operations, management, finances and other aspects.

  17. TERNON was the Vice President of CHELSEA and acted solely as an investor and did not

     participate in the day-to-day operations, management or finances of CHELSEA.

  18. On or around June 10, 2009, DEFILIPPI opened CHELSEA’s two business (2) bank accounts

     at BB&T Bank under BB&T Account Number 1100000145422 (“Business Checking

     Account”) and BB&T Account Number 1100000145430 (“Business Savings Account”).

  19. Throughout its existence, TERNON invested approximately $841,176.12 in CHELSEA.

     TERNON’s regular method of investing money in CHELSEA was by wiring money from his

     personal accounts in Netherlands to DEFILIPPI’s BB&T Personal Checking Account Number

     0000147589603.

  20. DEFILIPPI invested approximately $20,000 in CHELSEA.

  21. CHELSEA did not stay in business under DEFILIPPI’s management and eventually it was

     dissolved. DEFILIPPI oversaw and managed the dissolution of CHELSEA.
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  22. Upon information and belief, DEFILIPPI opened a new personal checking account and a

     personal savings account at Bank of America on or about November 13, 2012 (“BOA

     Accounts”).

  23. As one of the final steps in the dissolution of CHELSEA, CHELSEA sold its liquor license and

     inventory and netted proceeds of seventy thousand ninety-seven dollars and fifty-two

     cents ($70,097.52).

  24. On or about December 17, 2012, DEFILIPPI caused CHELSEA to distribute seventy-

     thousand dollars ($70,000) from CHELSEA’s Business Checking Account to DEFILIPPI’s

     personal BOA Account.

  25. All proceeds from the dissolution of CHELSEA should have been distributed 50% to each

     of DEFILIPPI and TERNON.

  26. On or about December 17, 2012, TERNON noticed the irregularity in the distributions of

     CHELSEA and inquired of DEFILIPPI as to why DEFILIPPI caused CHELSEA to distribute

     $70,000 directly from CHELSEA to DEFILIPPI. A copy of TERNON’s December 17, 2012 e-

     mail is attached hereto as Exhibit “C”.

  27. On or about September 27, 2013, CHELSEA was administratively dissolved.

  28. DEFILIPPI did not respond directly to TERNON’s December 17, 2012 e-mail until October

     6, 2013 at which time she stated that, among other things “I took the extra $35,000 from

     our joint account from the sale of Chelsea because I knew you would never repay the

     money that you stole from me.” DEFILIPPI went on to cite multiple personal reasons to

     attempt to justify her improper distribution of the $35,000 from CHELSEA to herself in her

     e-mail of October 6, 2013 such as “…your income far exceeds my income and what you
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     “believe” is of no significance….” (emphasis in original) and that [DEFILIPPI] “…could have

     grown [her] career…” and “as your wife I followed you….” A copy of the October 6. 2013

     e-mail from DEFILIPPI is attached hereto as Exhibit “D”.

  29. DEFILIPPI also told TERNON in later conversations that she took the additional $35,000

     because TERNON “makes more money than her and will not miss $35,000”, that

     TERNON’s “parents are rich, so that he has nothing to worry about” and that DEFILIPPI

     has nothing.

  30. DEFILIPPI also cited numerous claims in her October 6, 2013 e-mail regarding TERNON’s

     alimony payments, infidelity and other personal issues and threatened to “return to

     court” over these issues. DEFILIPPI eventually did sue TERNON over alimony payments

     and such issues have been fully resolved by the Court; however, DEFILIPPI’s improper

     distribution of funds from CHELSEA to herself was not the subject of said litigation and

     has not been resolved by any court.

  31. CHELSEA or DEFILIPPI owes TERNON at least $35,000 as a result of DEFILIPPI’s actions.

  32. Plaintiff has been required to hire the undersigned counsel and pay them a reasonable

     fee and incur costs as a result of Defendant’s failures and refusals to pay Plaintiff the

     amounts owed.

  33. All conditions precedent to this action have occurred or been waived.

                                     CAUSES OF ACTION
                     I.      COUNT I: REQUEST FOR DECLARATORY RELIEF

     34. Plaintiff re-states and re-avers paragraphs 1-33 as if fully alleged herein.

     35. A bona fide, actual, present practical need for a declaration exists.
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     36. The declaration concerns a present, ascertainable state of facts or present

        controversy as to a state of facts.

     37. A privilege, right or power of the Plaintiff is dependent upon the facts or the law

        applicable to the facts.

     38. A person or persons have, or reasonably may have an actual, present, adverse and

        antagonistic interest in the subject matter, either in fact or law.

     39. The antagonistic and adverse interests are all before the Court by proper process.

     40. The relief sought is not merely the giving of legal advice or the answer to questions

        propounded for curiosity.

        Wherefore, Plaintiff request that this Court enter an Order of declaratory relief

     against Defendants determining the following issues, as well as any supplemental and

     incidental relief that is fair and just under the circumstances, such as damages, pre- and

     post-judgment interest, costs and attorney’s fees and the following specific matters:

        a. That DEFILIPPI improperly caused CHELSEA to distribute $70,000 to DEFILIPPI; and,

        b. Finding that TERNON was and is entitled to fifty percent (50%) of all distributions

            of CHELSEA, including distributions made upon dissolution of CHELSEA, including

            50% of the seventy thousand dollars that DEFILIPPI distributed to herself from

            CHELSEA and advising CHELSEA as to the proper distribution of any funds

            recovered as a result of this Action; and,

        c. Finding that DEFILIPPI is not entitled to receive any funds recovered by CHELSEA

            as a result of this action because DEFILIPPI has unclean hands and should not be

            permitted to recover from her own wrongdoing; and,
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            d. That CHELSEA is entitled to a recovery of any and all damages from DEFILIPPI,

                including interest, costs and attorney’s fees incurred pursuant to Fla. Stat. §

                607.07401 or any other applicable law rule or statute.

               II.      COUNT TWO: BREACH OF FIDUCIARY DUTY OWED TO CHELSEA

    41. The Plaintiff re-states and re-avers Count 1- 33 as if fully stated herein.

    42. DEFILIPPI and CHELSEA share a relationship whereby CHELSEA reposed trust and

        confidence in DEFILIPPI to manage and protect CHELSEA’s finances.

    43. CHELSEA undertook such trust and assumed a duty to advise, counsel or protect CHELSEA

        from harm as its President. DEFILIPPI owed CHELSEA a fiduciary duty.

    44. DEFILIPPI, as an officer and President of CHELSEA, owed CHELSEA a fiduciary duty.

    45. DEFILIPPI breached her fiduciary duty to CHELSEA by mismanaging CHELSEA’s funds,

        causing CHELSEA to distribute funds in dissolution improperly to herself rather than to

        CHELSEA’s shareholders as required and otherwise self-dealing, mismanaging or

        embezzling CHELSEA’s funds.

    46. DEFILIPPI’s breach of fiduciary duty has caused damages to CHELSEA.

    WHEREFORE, Plaintiff prays that this Court will enter an Order for damages against

Defendant, including costs, pre- and post-judgment interest and attorney’s fees (under Fla. Stat.

§ 607.07401 or any other law, rule or basis for awarding attorney’s fees) and any and all other

relief that is fair, just and equitable.

                                   III.    COUNT THREE: CONVERSION

    47. The Plaintiff re-states and re-avers paragraphs 1-33 as if fully alleged herein.

    48. DEFILIPPI committed an unauthorized act by distributing funds of CHELSEA to herself.
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    49. DEFILIPPI’s actions deprived CHELSEA of its property permanently or for an indefinite

        time.

    50. The deprivation of CHELSEA’s funds is inconsistent with Plaintiff’s ownership interest in

        the property.

    51. The converted funds are capable of specific identification.

    52. Plaintiff has previously made demand for return of the converted funds.

    53. CHELSEA has suffered damages.

    WHEREFORE, Plaintiff prays that this Court will enter an Order for damages against

Defendant, including costs, pre- and post-judgment interest and attorney’s fees (under Fla. Stat.

§ 607.07401 or any other law, rule or basis for awarding attorney’s fees) and any and all other

relief that is fair, just and equitable.

                IV.     COUNT FOUR: CIVIL THEFT IN VIOLATION OF FLA. STAT. § 772.11

    54. The Plaintiff re-states and re-avers paragraphs 1-33 as if fully alleged herein.

    55. CHELSEA has been injured by DEFILIPPI’s actions.

    56. DEFILIPPI’s actions were in violation of Fla. Stat. § 812.014 because DEFILIPPI knowingly

        obtained, used or endeavored to obtain or use the property of CHELSEA with the intent

        to either temporarily or permanently deprive CHELSEA of its right to the property or

        benefit from the property or to appropriate the property to her own use or the use of

        someone not entitled to the use of the property.

    57. CHELSEA is entitled to three times the actual damages sustained as well as its attorney’s

        fees and court costs in trial and appellate courts pursuant to Fla. Stat. § 772.11.
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   58. Before filing this action, CHELSEA made a written demand to DEFILIPPI for recovery of the

      stolen property, a true and correct copy of which is attached hereto as Exhibit “E”.

   59. DEFILIPPI did not comply with CHELSEA’s demand within thirty (30) days of receipt of the

      demand.

      WHEREFORE, Plaintiff prays that this Court will enter an Order for damages against

   Defendant, including costs, pre- and post-judgment interest and attorney’s fees (under Fla.

   Stat. § 607.07401, Fla. Stat. § 772.11, Fla. Stat. § 772.185 or any other law, rule or basis for

   awarding attorney’s fees) and any and all other relief that is fair, just and equitable.

            COUNT FIVE: BREACH OF FIDUCIARY DUTY OWED TO TERNON INDIVIDUALLY

   60. The Plaintiff re-states and re-avers paragraphs 1-33 as if fully alleged herein

   61. DEFILIPPI and TERNON share a relationship whereby TERNON reposed trust and

      confidence in DEFILIPPI to manage and protect TERNON’s interests as a shareholder.

   62. CHELSEA undertook such trust and assumed a duty to advise, counsel or protect TERNON

      from harm. DEFILIPPI owed TERNON a fiduciary duty.

   63. DEFILIPPI, as an officer and President of CHELSEA, owed TERNON a fiduciary duty because

      TERNON was a shareholder of CHELSEA.

   64. DEFILIPPI breached her fiduciary duty to TERNON by mismanaging CHELSEA’s funds,

      causing CHELSEA to distribute funds in dissolution improperly to herself rather than to

      TERNON as required and otherwise self-dealing, mismanaging or embezzling CHELSEA’s

      funds.

   65. DEFILIPPI’s breach of fiduciary duty has caused damages to TERNON.
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    WHEREFORE, Plaintiff prays that this Court will enter an Order for damages in favor of Ternon

individually against Defendant, including costs, pre- and post-judgment interest and attorney’s

fees (under any applicable law, rule or basis for awarding attorney’s fees) and any and all other

relief that is fair, just and equitable.
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      Respectfully Submitted this 14th day of December, 2016.

                                      By:                 /s/ Kevin G. Brick
                                            Kevin G. Brick
                                            Florida Bar No. 0011500
                                            Brick Business Law, P.A.
                                            400 N. Ashley Drive #2600
                                            Tampa, Florida 33602
                                            Telephone: (813) 816-1816
                                            Facsimile: (813) 200-1032
                                            Kevin.Brick@BrickBusinessLaw.com
                                            Attorneys for Plaintiff
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                          Exhibit "A"
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                                    Exhibit "B"
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                              Exhibit "C"
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                                      Exhibit "D"
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                                                                                              Kevin G. Brick, Esq.*
                                                                                           *Licensed in Florida and Georgia
                                                          November 17, 2016
                         VIA U.S. MAIL AND CERTIFIED
                         MAIL RETURN RECEIPT:

                         Nicolette DePhilippi f/k/a Nicolette Ternon
                         224 Oglewood Ave
                         Knoxville, TN 37917
Main Office
Address:                 AND VIA E-MAIL TO:
Brick Business Law, PA
400 N. Ashley Drive
                         ternon@hotmail.com
Suite 2600
Tampa, FL 33602                   RE:      CHELSEA NIGHTCLUB OF TAMPA, INC.
                                           Demand for Payment Pursuant to Fla. Stat. §772.11
Website:
BrickBusinessLaw.com     Dear Ms. DePhilippi:

Phone Number:                    This law firm has been engaged by Bruno Ternon (“Ternon”), derivatively on behalf
813-816-1816 (o)
                         of Chelsea Nightclub of Tampa, Inc. (“Chelsea”). If you are represented by an attorney,
813-200-1032 (f)
                         please provide this letter to your attorney immediately. Please direct any correspondence
                         intended for Bruno to me.
E-mail Address:
Kevin.Brick
@BrickBusinessLaw.com           I.      Factual Background

                                  You and Mr. Ternon each owned 50% of Chelsea at all times and each of you
                         were entitled to 50% of the distributions of Chelsea. As President of Chelsea, you had
                         a fiduciary duty of good faith and fair dealing to Chelsea. Upon dissolution of Chelsea,
                         Chelsea received income from the sale of its liquor license and some inventory in the
                         amount of $72,097.52. Shortly thereafter, you distributed $70,000 from Chelsea’s
                         bank account to yourself.

                                   On December 17, 2012, Mr. Ternon asked you via e-mail why you made this
                         distribution from Chelsea to yourself. You responded on or about October 6, 2013 via
                         e-mail, essentially stating that you took this money from Chelsea because of personal
                         issues between you and Mr. Ternon. You later told Mr. Ternon that you took the
                         money because “he makes more money than [you] and will not miss $35,000”. You
                         have never returned this $35,000 to Chelsea despite the demands of Mr. Ternon.

                                   While you may have been entitled to a distribution of 50% of proceeds from
                         the sale of Chelsea’s assets (in the amount of $35,000 and notwithstanding the
                         calculation of any other improper distributions), you were not entitled to the full
                         $70,000 that you removed from Chelsea. Furthermore, your statements and

                                                                          Our Client-Matter No.: 00120-Ternon




                                                                Exhibit "E"
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             reasoning about why you took the money indicates that you stole the additional
             $35,000 from Chelsea knowingly and with the intent to deprive Chelsea of this
             money permanently or to use it for your own benefit.


                   II.   Demand for Payment

                      Demand for payment is hereby made of you pursuant to Fla. Stat. §772.11.
             Under Florida Statute § 772.11, a person who is injured by a theft, among other things,
             is entitled to the recovery of three times the actual damages sustained and their
             attorney’s fees and court costs for pursuing such action. Theft is defined by Fla. Stat.
             §812.014 of knowingly obtaining or using the property of another with the intent to
             temporarily or permanently deprive them of the right to the property or benefit of the
             property. You improperly distributed at least $35,000.00 from the corporation to
             yourself as described above and this amounts to theft. As such Chelsea is entitled to a
             recovery from you of $105,000 under Florida law.

                       This letter is a written demand for the you to deliver to Bruno Ternon
             $105,000.00 in trebled damages pursuant to Fla. Stat. § 772.11. The delivery of these
             funds, as described above, within 30 days may prevent you from incurring additional
             liability for attorney’s fees, costs and additional damages. The funds may be delivered
             to the Brick Business Law, P.A. Trust Account at the address in my letterhead.

            III.     Spoliation Notice

                      You are hereby put on notice that the communications, documents, recordings,
             writings and other records in your possession or under your control that are or may be
             related to these matters in any way whatsoever will become subject to litigation. You must
             retain, and may not destroy, delete or otherwise dispose of any records nor may you
             authorize or advise any other person to do so on your behalf. This Notice specifically includes
             and pertains to electronic records of any kind.

                  Your failure to take proper steps in compliance with this notice and to retain and
             protect such records after receiving this Notice may subject you to harsh sanctions
             imposed by the Court.

             GOVERN YOURSELF ACCORDINGLY.

                                                     Sincerely,


                                               Kevin G. Brick, Esq.
